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 1                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
 2
                             CIVIL ACTION      NO. 1:22-CV-11437-DJC
 3

 4

 5              MICHELLE GEIGEL, as                         )
                Administrator of the Estate of              )
 6              CRISTHIAN GEIGEL,                           )
                                    Plaintiff,              )
 7                                                          )
                                  vs.                       )
 8                                                          )
                ISMAEL ALMEIDA AND JOHN/JANE                )
 9              DOES NOS. 1-2,                              )
                                   Defendants.              )
10              _______________________________

11                           AUDIO/VISUAL DEPOSITION VIA ZOOM OF

12            MICHELLE GEIGEL, called as a witness by and on

13            behalf of the Defendants, pursuant to the

14            applicable provisions of the Massachusetts Rules

15            of Civil Procedure, before Melissa R. McKenzie,

16            Certified Shorthand Reporter, No. 1445F97, and

17            Notary Public within and for the Commonwealth of

18            Massachusetts, on Thursday, March 28, 2024,

19            commencing at 2:00 p.m.

20

21

22                           ELLEN M. FRITCH & ASSOCIATES
                                  363 SILVER STREET
23                              SOUTH BOSTON, MA 02127
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24                                  (617) 269-5448
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 1      A.    It was in Boston for sure.           Probably like

 2            Dorchester area.

 3      Q.    And at one point your father was married to your

 4            mother; is that right?

 5      A.    Yes.

 6      Q.    And they divorced?

 7      A.    They separated around 2003 or 2004, and then they

 8            officially got a divorce in 2016.

 9      Q.    Did your father live with you and your mother

10            since 2003 or 2004, the separation?

11      A.    They were living together, but at one point, I

12            don't know what year, but he did end up living in

13            the same apartment building as her.              She was

14            living above and he was living down below.

15      Q.    Was that at Joe L. Smith Way?

16      A.    No, that was -- I think it was Alden Terrace in

17            Dorchester.

18      Q.    So since you and your mother lived at Joe L.

19            Smith Way or Bishop Joe L. Smith Way starting

20            2012, as you indicated, did your father ever live

21            with you there?

22      A.    No.

23      Q.    In say the year proceeding your father's passing,

24            how often would you see him?
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 1            and found out that he had family.

 2      Q.    I appreciate that.         And we're definitely going to

 3            get there, but in May 2019 you understand that he

 4            was arrested and held in custody at the D-4

 5            station in Boston?

 6      A.    After, yes, when they had told me he was

 7            deceased.

 8      Q.    Right.     But you didn't know that until after they

 9            had informed you; fair to say?

10      A.    Yes.

11      Q.    So the last time you would have interacted with

12            your father before that would have probably been

13            a phone call; is that fair to say?

14      A.    It was that year in January of --                              he

15            had come -- he had just gotten out of prison, and

16            he came to see us in person for my birthday and

17            that was the last day I saw him.

18      Q.    Again, Miss Geigel, I understand how difficult

19            this subject is, and I appreciate you bearing

20            with me as we get through these questions.                 I

21            really do.

22                           So how was it that you learned about

23            your father's death?

24      A.    They had told us that -- it was an investigator
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 1            who came into the house that Tuesday, and he had

 2            told us that they had found my father that

 3            morning -- they had found him unresponsive.

 4      Q.    And you remember the day of the week, you

 5            remember it being a Tuesday?

 6      A.    Yes, because I had jury duty that day, and I was

 7            nervous because they didn't call me, and I was,

 8            like, Oh, my God, they're here to take me in or

 9            something.      It was just me overreacting, but when

10            I had saw them, they had come to me and they told

11            me what had happened to my dad.

12      Q.    And who was it that came to your house?

13      A.    It was two men.        One of them gave us his business

14            card, which we still have.           His name was Kenneth,

15            last name was Otivo (phonetic).             Otivo, something

16            like that.

17      Q.    If I said his name was Kenneth Autio, A-u-t-i-o,

18            does that ring a bell?

19      A.    Yes.

20      Q.    Okay.     So he was one of the detectives who came

21            to your house?

22      A.    Yes.    He had given us his business card, and my

23            mom was the one who kept it with her.

24      Q.    All right.      And he was with someone else?
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 1      A.    Yes, but I don't remember his name.

 2      Q.    Okay.     You said earlier that you were trying to

 3            recall individual's names, and you said one of

 4            them was a detective who informed you of your

 5            father death.       Is that him?

 6      A.    Yes.

 7      Q.    Okay.     Who was at your house when Detective Autio

 8            came to deliver this news?

 9      A.    It was my stepdad.         He was the one who opened the

10            door for them, and I believe they explained it to

11            him.    And that's when he went to get me in my

12            room so I could talk to them.

13      Q.    And your mother was there as well?

14      A.    She was at work.        She was at work, and my stepdad

15            had called her to let her know what was going on,

16            and she came running from work to be there when

17            -- well, she was there after they told me the

18            news.

19      Q.    But she came home in time to speak with those two

20            detectives who came to your house?

21      A.    She came to more so comfort me, because she was

22            also freaking out, and she was able to talk to

23            them along with us after the fact, and the

24            detective ended up explaining more like to her as
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 1            well what had gone on.

 2      Q.    But the detectives were still there when she got

 3            to your house?

 4      A.    Yes.

 5      Q.    Were your siblings at the house?

 6      A.    I believe that my youngest one was.              My other one

 7            he was at school.        He was on his way home from

 8            school.

 9      Q.    What time of day was it that the detectives

10            showed up to deliver the news?

11      A.    It was in the evening.          I don't remember what

12            time, but it was in the evening.

13      Q.    And what do you remember about what they told

14            you?

15      A.    They had told me that they had an anonymous call

16            in regard to a man outside of Target playing with

17            a toy sword.       The person who had called believed

18            it was real.

19                           And so when they came -- when they

20            dispatched the police to go investigate what was

21            going on, they found out it was a toy sword, but

22            they saw that he had a warrant in New Hampshire

23            so they took him in and it was that Friday.

24                           And then they told us again
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 1            repeatedly that they don't search or do a pat

 2            down of them when they go into the police

 3            station.     They don't check, and they kept

 4            repeating that to us.         And then that because it

 5            was a holiday, they were going to take him in on

 6            Tuesday to New Hampshire for that warrant, and

 7            that's when they had found him unresponsive.

 8                           They also had mentioned that they were

 9            under -- they were still under investigation and

10            they couldn't give me a lot of information.                And

11            the detective himself suggested that we get an

12            attorney and that's when we found it very odd

13            that he would suggest that when it felt like --

14            it felt like it was going to happen eventually

15            because he was doing drugs, but the way that he

16            had said it, and the way that he had said that

17            they were under investigation was very odd to us.

18            So we went ahead and we searched out for an

19            attorney because of that.

20      Q.    You said it was the detectives themselves who

21            suggested that you get an attorney?

22      A.    Yes.

23      Q.    That attorney was Attorney Benzan that you sought

24            out?
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 1      A.    Yes.

 2      Q.    And you mentioned that the detectives who spoke

 3            with you emphasized search procedures at the

 4            police station; is that right?

 5      A.    Yes.

 6      Q.    Can you say more about that, why were they going

 7            over that?

 8      A.    Necessarily we don't know, but that's what made

 9            it really suspicious that they kept repeating

10            that they don't do pat downs, they don't do

11            searches.

12      Q.    And did they say anything about the manner in

13            which he had died?

14      A.    No.    They didn't tell us the manner.            They just

15            said that it was a possible overdose, but it was

16            still under investigation so they couldn't give

17            us any information.

18      Q.    And they said that officers were going to take

19            him to court in New Hampshire on Tuesday?

20      A.    Yes.

21      Q.    And it was in that instance that they found him

22            unresponsive?

23      A.    Yes.

24      Q.    Did they tell you that they found him
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 1            specifically in his cell?

 2      A.    They didn't give me any information like that.

 3            They just said that they found him unresponsive,

 4            and they just, again, they just told us that

 5            everything was under investigation.              They

 6            couldn't give me any information, any details.

 7      Q.    Did they say that he had died at the police

 8            station?

 9      A.    They didn't necessarily say that.             I guess they

10            -- we took it as an implication where they

11            sounded like they implied it.

12      Q.    The detectives told you it was a possible

13            overdose, but they were still doing an

14            investigation?

15      A.    Yes.    That it seemed like it was an overdose, and

16            that they were still under investigation and they

17            would give us more information after they found

18            out what was really happening, which we never

19            got.

20      Q.    Did they provide any details about why it seemed

21            like a possible overdose?

22      A.    No.

23      Q.    Did the detectives mention anything that was

24            found near your father?
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                                                                          30


 1      A.     No.

 2      Q.     How long were the detectives at your home?

 3      A.     I'm not sure.       Probably max 20 minutes,

 4             25 minutes.      The only reason why would be because

 5             they reiterated it to my mom when she came in,

 6             when they reexplained it to her.

 7      Q.     What do you remember about what happened after

 8             the detectives left your home?

 9      A.     After they had gone, we went ahead and started to

10             inform my dad's family members.            Like, his mom

11             and his sister, and my mom proceeded to tell

12             their mutual friends.

13                           And the next day after that is when

14             she started to prepare for a funeral, started

15             figuring out what to do, looked into getting an

16             attorney like the police had suggested, and yeah.

17      Q.     Do you know who Juan Geigel is?

18      A.     I'm sorry.

19      Q.     Do you know who Juan Geigel is?

20      A.     I'm not sure, no.

21      Q.     Is he a family member, a relative, of you or your

22             father?

23      A.     The name doesn't sound familiar, but I really

24             wasn't close to -- well, my father and I and my
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 1             younger brother, we weren't close to his family.

 2             The only people I could say that we were close to

 3             on his side of the family was my grandmother, his

 4             mother, and my aunt, his sister.

 5      Q.     You mentioned that your mother was reaching out

 6             to members of your father's family.

 7      A.     It was more of my grandmother and my sister --

 8             sorry, his sister.

 9      Q.     Okay.    All right.      Did she reach out to anyone

10             that you didn't know?

11      A.     No, not that I know of.          I believe, like, later,

12             later on when we were preparing for the funeral,

13             she did contact his father, and then he proceeded

14             to contact the rest of my father's family.

15      Q.     The contacting of your father's mother and

16             sister, that happened on the same day, Tuesday?

17      A.     Yes.

18      Q.     All right.      The following day, the Wednesday, was

19             your family in touch with the medical examiner,

20             do you recall that?

21      A.     We were, but they refused, because it was under

22             investigation, they refused to give us the

23             reports.     To this day, we still have not received

24             the autopsy report, the toxicology report, even
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 1             his proper death certificate we have not received

 2             it.

 3                           They had told us -- I had given my

 4             mother permission to call because I wasn't ready

 5             to kind of come to terms with it.             She had called

 6             for me, and they had told us that they needed to

 7             get something written out in order to give the

 8             documentations to us.         This was many months,

 9             like, probably a month or two after.              Sorry.   A

10             month after, because we were trying to prepare

11             for his funeral, and they still have not given it

12             to us.     And we -- we sent them the documentation,

13             the written letter, to see if we could get them

14             sent to us, and they still haven't sent us those

15             documentations to us.

16      Q.     You're talking about reaching out to the medical

17             examiner a month after or so?

18      A.     Yes.     So we had called beforehand due to try to

19             prepare for the funeral, but they had said

20             because it was under investigation, they couldn't

21             release it yet.       So we had tried again.         It was

22             repeatedly we had tried.          I had called eventually

23             and my mom had called, and we had sent in

24             something written to them like they had suggested
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 1             we do, and they still had not reached out back to

 2             us.

 3      Q.     Right.    Go ahead.

 4      A.     It went on for several months.

 5      Q.     And I mean, you mentioned that your mother was

 6             doing this on your behalf.          What do you mean by

 7             that?

 8      A.     I had given her permission to speak with the

 9             medical examiner because they had told us they

10             weren't allowed to speak to -- they weren't

11             allowed to speak to her unless I had given them

12             permission because I am the next of kin, and

13             that's what they kept explaining to us.

14      Q.     Right.    So you as Mr. Geigel's daughter, would

15             have been next of kin, but not your mother?

16      A.     No, because they were divorced.

17      Q.     And then -- well, you mentioned documentation.                   I

18             just want to note before I ask further questions,

19             I mean, the documentation you were hoping to get

20             from the medical examiner, we have provided it in

21             discovery.      It's relevant for this case, but it

22             also sounds like it will provide you with some

23             information that you've long sought after.                 So

24             it's been sent to your attorney.            I would just
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 1             work with him to look at those documents.

 2      A.     Okay.

 3      Q.     But back to what I'm interested in is

 4             conversations between the medical examiner's

 5             office and your family on the day following your

 6             learning of your father's death.            So this is the

 7             Wednesday.

 8                           Do you remember having conversations

 9             with them then?

10      A.     No.     I believe we didn't -- I can't recall if we

11             were.     Again, I had given my mom permission

12             because I was still a little bit in shock, and my

13             little brother was in shock.           So I had to comfort

14             him and I had to deal with him.

15                           And then I had -- my grandmother had

16             come from Puerto Rico too.          So she had flown out

17             that same Tuesday night, and she was there.                She

18             was there on Wednesday.          So that -- the day

19             following, I was more so comforting them, and my

20             mom was the one who was dealing with calling

21             different people.

22      Q.     So you didn't have a conversation with the

23             medical examiner's office yourself?

24      A.     No, not at that time, no.
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 1      Q.     At that time on that day, the Wednesday, are you

 2             aware if the medical examiner had a conversation

 3             with your mother?

 4      A.     I believe she -- from what I remember, I believe

 5             she called.      I don't know if she spoke to anybody

 6             that day.     Again, I was kind of like zoned out

 7             the day after.       So I don't necessarily remember

 8             everything that was going on and what she was

 9             doing, but my mother was trying to be a little

10             more proactive and figure out what was going on

11             because just what the detectives had told us, and

12             what they kept repeating was just kind of

13             suspicious to us.

14                           And so she was trying to get

15             information, she was trying to get the funeral

16             arrangements set up, and figure out what was

17             going on.

18      Q.     You may have touched on this before, just so I

19             have it clear, what specifically was it that the

20             detectives said that was suspicious to you and

21             your mother?

22      A.     The fact that they kept repeating that they don't

23             do pat downs, they don't do pat downs, and the

24             fact that before they left, they told us to get
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 1             an attorney.      If it were something normal that

 2             didn't require any suspicion, like, I didn't

 3             understand why they were telling us to get an

 4             attorney if -- I didn't understand why they were

 5             suggesting that we had to get an attorney if it

 6             was just a normal overdose.           And it just didn't

 7             -- like, it didn't click, not that it didn't

 8             click, it was more of, like, it didn't make sense

 9             that we had to get an attorney if everything was

10             okay, and it was because of an overdose.

11      Q.     And now turning to the Thursday, so two days

12             after you learned about your father's death, I

13             can show it to you if you want, but there's a

14             document where you signed a release to the

15             medical examiner to have his body released to the

16             funeral home.       Do you recall that?

17      A.     Yes.

18      Q.     And what was the process for signing that?

19      A.     Again, I don't really remember too much.               I know

20             that my mom was the one who was handling

21             everything.      So she told me that that was so we

22             could release his body, and so I went ahead and I

23             signed for her.       She was the one who sent it in

24             for us, and she was the one who was trying to
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 1             handle all that because, again, it was just like

 2             a really emotional ride.

 3                           So I don't really necessarily remember

 4             everything that was going on.           My mom was the one

 5             who was being a lot more proactive than I was.

 6      Q.     All right.      I'm only going to do this with this

 7             one document, but I can show it to you.              So I'm

 8             going to share my screen, and then you'll be able

 9             to see the document.         One second.

10                           MR. MAAS:      This will be Exhibit 1.

11      Q.     Do you see that, Miss Geigel?

12      A.     Yes.

13      Q.     So it's blown up pretty bit.           I'm going to scroll

14             down for you.       Actually, I can get it down

15             probably to 100 percent.          So I'll scroll down for

16             you.    This is from Casper Funeral and Cremation

17             Services.

18      A.     Yes.

19      Q.     And it's an authorization for release form at the

20             top, and they have some information filled out

21             and this is your signature at the bottom?

22      A.     Yes.

23      Q.     Okay.    And this is the document that you were

24             referring to that your mother gave you for the
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 1             release of your father's body a moment ago?

 2      A.     Yes.     She had given it to me.        She had basically

 3             explained that that was just so they could

 4             release his body to the funeral home to prepare

 5             him, and so I went ahead and I signed it for her,

 6             and so she was the one who sent it in.

 7      Q.     I'll stop sharing my screen.           I just wanted to

 8             show you that document.

 9                           All right.      And you mentioned that you

10             had conversations with the medical examiner's

11             office, but they never gave you any documents?

12      A.     No.

13      Q.     Did you have any further interactions with the

14             Boston Police Department following your father's

15             death?

16      A.     My mom had called, and again, I gave her

17             permission to call.        She notified me that she was

18             going to call because we still hadn't received

19             his death certificate.         She had called, and she

20             spoke to Sergeant Lewis, and they had told her

21             that his date -- the day of death was the 27th in

22             the evening.      And then when we received the death

23             certificate, which wasn't even from them, it was

24             actually a reporter who was the one who had
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 1             from what I remember.

 2      Q.     Okay.     All right.     We're getting ahead of

 3             ourselves, but what you're saying that the

 4             information that Sergeant Lewis provided your

 5             mother was not the same information that was on

 6             the death certificate that you --

 7      A.     Yes.

 8      Q.     All right.      Your mother she had -- did she have

 9             just one phone conversation with Sergeant Lewis

10             at BPD?

11      A.     I believe it was only one conversation.

12      Q.     Do you know when that was approximately, this

13             conversation?

14      A.     No.     I don't remember when it was.          It had to

15             have been a little bit closer to around the time

16             that we were trying to get his body released

17             because I do remember that the funeral home

18             refused, not refused, but they had kept asking

19             for that death certificate.

20      Q.     All right.      And then, I mean, you said a moment

21             ago, you mentioned a moment ago, a meeting with

22             the District Attorney's office?

23      A.     Yes.

24      Q.     Can you tell me about that, what happened?
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 1      A.     So we had requested our attorney to set up a

 2             meeting for us because we wanted to know what was

 3             going on and to get more information about what

 4             was going on with the investigation, and that's

 5             when they had told us that they had a recording

 6             of -- and they had shown us the -- not the actual

 7             video, but, like, images of the video.

 8      Q.     When was this that you learned about this?

 9      A.     I don't remember the exact date, but it was

10             several months after.

11      Q.     Several months after your father's death?

12      A.     Yes.

13      Q.     And you went to the District Attorney's office

14             with Attorney Benzan?

15      A.     Yes.

16      Q.     Who else was there?

17      A.     My mother.

18      Q.     All right.      So it was the three of you meeting

19             with an assistant district attorney from that

20             office?

21      A.     Yes.

22      Q.     And what did you discuss in your conversation

23             with the assistant district attorney?

24      A.     So we discussed basically the events of what had
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 1             happened in the police station with my father,

 2             that they had a recording of him taking the drugs

 3             out and ingesting the drugs, and having what

 4             seemed -- he said that what looked like seizures

 5             after ingesting the drugs, and then looking like

 6             he was not breathing anymore.

 7      Q.     Did you see the video?

 8      A.     No.

 9      Q.     All right.      He described it to you?

10      A.     I believe he provided images, not necessarily the

11             video, but the images from the video.              But I

12             refused to look at it because I didn't want to

13             see my father like that.

14      Q.     I understand.       Do you recall the name of the

15             assistant district attorney that you met with?

16      A.     No, I don't remember his name.

17      Q.     All right.      What did you learn at that meeting

18             with the assistant district attorney that you

19             didn't know before?

20      A.     I'm sorry.      Can you repeat that?

21      Q.     Yes.    What new information did you learn at the

22             meeting with the assistant district attorney that

23             you didn't know before?

24      A.     I guess it was more confirming that it was an
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 1             overdose and that he did take the drugs that he

 2             had on him.

 3      Q.     And you're saying confirming because Detective

 4             Autio who spoke with you he said that it was

 5             possibly a drug overdose?

 6      A.     Yes.

 7      Q.     And given your father's history, you suspected it

 8             was a drug overdose; is that fair to say?

 9      A.     Yes.

10      Q.     And here at this meeting it was confirmation by

11             the assistant district attorney that that is in

12             fact how he died?

13      A.     Yes.

14      Q.     Miss Geigel, if you don't mind, what I'd like to

15             do is I'd like to take a break of about five

16             minutes just to go over my outline and think of

17             any additional questions.           I'm basically done,

18             and when we come back, I will either have no

19             questions for you or just a couple more questions

20             and then we'll be done, if that's okay?

21      A.     Okay.

22                           MR. MAAS:      Bear with me for five

23             minutes while I go through some things.

24                           THE WITNESS:       Okay.
